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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-62279-CIV-COHN/SELTZER

 BILL TAYLOR,

        Plaintiff,

 v.

 HUANG LIN CORPORATION, a Florida corporation,
 NIAN ZHENG WONG, an individual, and
 YING WONG, an individual,

      Defendants.
 _______________________________________/


  FINAL JUDGMENT TAXING COSTS AND ATTORNEY’S FEES UPON DEFENDANT
                       HUANG LIN CORPORATION

        THIS CAUSE is before the Court upon the Court’s Order Granting in Part

 Plaintiff’s Motion for Bill of Costs and Granting Plaintiff’s Verified Motion for Attorney’s

 Fees [DE 18]. It is thereupon ORDERED AND ADJUDGED that Judgment for costs

 and attorney’s fees is hereby entered in favor of the Plaintiff Bill Taylor and against the

 Defendant Huang Lin Corporation, and Plaintiff Bill Taylor shall recover $4975.35 in

 costs and attorney’s fees, plus interest thereon at the rate of 0.18% per annum, for

 which let execution issue.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 15th day of March, 2012.




 Copies to counsel of record via CM/ECF.
